
PER CURIAM.
We affirm appellant’s conviction for purchase of cocaine* on the authority of Blankenship v. State, 545 So.2d 908 (Fla. 2d DCA 1989). As in Blankenship we certify to the Florida Supreme Court the following question, which we deem to be of great public importance:
DOES SECTION 893.13, FLORIDA STATUTES (1987), VIOLATE THE ONE *973SUBJECT RULE OF THE FLORIDA CONSTITUTION?
CAMPBELL, C.J., and RYDER and DANAHY, JJ., concur.

 Section 893.13, Florida Statutes (1987), as amended by chapter 87-243, Laws of Florida.

